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                                                            5

                                                            6

                                                            7
                                                                                   IN THE UNITED STATES DISTRICT COURT
                                                            8
                                                                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                                            9

                                                           10   Texas Nrgize #1, Inc.,                   No. 4:14-cv-00544-Y
                                                           11                            Plaintiff,      APPENDIX IN SUPPORT OF
                                                                                                         MOTION TO TRANSFER
                                                           12         v.                                 PURSUANT TO 28 U.S.C. § 1404(A)
                  3883 Howard Hughes Parkway, Suite 1100




                                                                                                         AND BRIEF IN SUPPORT
          & Wilmer
             ___________




                                                           13   Kahala Franchising, LLC, et al.,
                         Las Vegas, Nevada 89169




                                                                                          Defendants.
                              LAW OFFICES


                               702.784.5200




                                                           14
                                    L.L.P.




                                                           15
___________
Snell




                                                           16      Exhibit                          Document                      Pages
                                                                     A         Redacted Franchise Agreement, dated May 22,        1-86
                                                           17                  2007
                                                                      B        Single-Unit Facility License Agreement             87-95
                                                           18         C        Table C, U.S. District Courts – Civil Cases        96-98
                                                                               Commenced, Terminated and Pending During the
                                                           19                  Period of March 31, 2012 and 2013
                                                                      D        Texas Business Opportunity                         99-100
                                                           20                  Exemption
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           EXHIBIT A




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